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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW MEXICO
Samuel Johnson,
                      Plaintiff
vs.

GC Services, LP
                      Defendant

     COMPLAINT FOR DAMAGES, DECLARATORY AND INJUNCTIVE
                          RELIEF
                 AND DEMAND FOR JURY TRIAL

                                  JURISDICTION

1.      This is an action for damages brought by an individual consumer for

Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. §

1692, et seq. (hereinafter   “FDCPA”), which prohibits debt collectors from

engaging in abusive, deceptive, and unfair practices. Plaintiff further alleges a

claim for invasion of privacy ancillary to Defendant’s collection efforts.

Jurisdiction is proper before this Court pursuant to 15 U.S.C. § 1692k(d).

                                      VENUE

2.      Venue is proper before this Court as the acts and transactions giving rise to

this suit occurred in this State, because Plaintiff resides in this State, and because

Defendant transacts business in this State.

                                     PARTIES

3.      Plaintiff, Samuel Johnson, is a natural person residing in New Mexico.
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4.     Defendant, GC Services, LP is a corporation engaged in the business of

collecting debts by use of the mails and telephone, and Defendant regularly

attempts to collect debts alleged to be due another in the State of New Mexico.

                           FACTUAL ALLEGATIONS

5.     At various and multiple times prior to the filing of the instant complaint,

including within the one year preceding the filing of this complaint, Defendant

contacted Plaintiff in an attempt to collect an alleged outstanding debt.

Defendant’s conduct violated the FDCPA in multiple ways, including but not

limited to:


       a) Repeatedly contacting Plaintiff concerning a debt allegedly owed
       by a third party, and refusing to stop contacting Plaintiff after
       repeated requests by Plaintiff (§ 1692d & § 1692c(b) & § 1692b(2));
       and,
        b) Using language the natural consequence of which is to harass Plaintiff,
       including repeatedly shushing Plaintiff and making distasteful remarks
       about Plaintiffs blood pressure (§ 1692d(2))6).

6.     Defendant’s aforementioned violations of the FDCPA also constitute an

invasion of Plaintiff’s right to privacy, causing injury to Plaintiff’s feelings,

mental anguish and distress.

                                 TRIAL BY JURY


7.     Plaintiff is entitled to and hereby demands a trial by jury.

                        COUNT 1, FDCPA VIOLATIONS

8.     The previous paragraphs are reincorporated by reference as though they

were fully set forth herein.
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9.      The acts described above constitute a violation of the FDCPA, and these

acts were done willfully and intentionally.

10.     Plaintiff is entitled to actual and statutory damages for the above pursuant

        to §1692(k).

COUNT 2, INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

11.     The previous paragraphs are reincorporated by reference as though they

were fully set forth herein.

12.     Defendant and/or its agents invaded Plaintiff’s privacy as described above,

and intentionally caused harm to Plaintiff’s emotional well-being by engaging in

conduct that would be very offensive to a reasonable person.

13.     Plaintiff had a reasonable expectation in Plaintiff’s solitude, seclusion,

and/or private affairs and concerns, and a reasonable person would find

Defendant’s actions as described above highly offensive and an invasion of

privacy.

14.     Plaintiff has been harmed by Defendant’s invasion of privacy and has

suffered damages as a result of the same, including but not limited to emotional

distress, loss of sleep, and loss of enjoyment of life.


15.     Defendant’s invasion of privacy entitles Plaintiff to actual damages as

determined by the trier of fact.

                                     PRAYER

WHEREFORE, Plaintiff prays this Honorable Court grant the following:
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      A.  A declaratory judgment that Defendant’s conduct violated the
      FDCPA;

      B.     Actual damages;

      C.     Punitive Damages

      D.     Statutory damages pursuant to 15 U.S.C. § 1692k;

      E.     Costs and reasonable attorney’s fees pursuant to 15 U.S.C. § 1692k;
      and,

      F.     Such other and further relief as may be just and proper



Respectfully Submitted,


s/Larry Leshin
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